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                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
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     PLAINTIFF PACITO; PLAINTIFF                CASE NO. 2:25-cv-255-JNW
8    ESTHER; PLAINTIFF JOSEPHINE;
     PLAINTIFF SARA; PLAINTIFF                  ORDER RESCINDING COMPLIANCE
9    ALYAS; PLAINTIFF MARCOS;                   FRAMEWORK ORDER
     PLAINTIFF AHMED; PLAINTIFF
10   RACHEL; PLAINTIFF ALI; HIAS,
     INC.; CHURCH WORLD SERVICE,
11   INC., and LUTHERAN COMMUNITY
     SERVICES NORTHWEST,
12
                         Plaintiffs,
13
           v.
14
     DONALD J. TRUMP, in his official
15   capacity as President of the United
     States; MARCO RUBIO, in his official
16   capacity as Secretary of State; KRISTI
     NOEM, in her official capacity as
17   Secretary of Homeland Security;
     ROBERT F. KENNEDY, JR., in his
18   official capacity as Secretary of Health
     and Human Services,
19

20                       Defendants.

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     ORDER RESCINDING COMPLIANCE FRAMEWORK ORDER - 1
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1          On May 5, 2025, this Court issued a Compliance Framework Order, Dkt. No.

2    119, establishing specific measures and timelines for implementing its preliminary

3    injunction, as narrowed by the Ninth Circuit’s partial stay and April 21, 2025,

4    clarification order. Pacito et al. v. Trump et al., No. 25-1313 (9th Cir.), Dkt. Nos. 28,

5    46. That framework was based on this Court’s understanding that approximately

6    12,000 refugees who had “arranged and confirmable travel plans” as of January 20,

7    2025, qualified as “Injunction-Protected Refugees.”

8          On May 9, 2025, the Ninth Circuit issued a second clarification order that

9    further refined its three-part test for determining which refugees remain protected

10   by this Court’s preliminary injunction. Pacito v. Trump, No. 25-1313, Dkt. 64.1. The

11   Ninth Circuit explained that its prior order “should be interpreted narrowly, on a

12   case-by-case basis, to apply to individuals with a strong reliance interest arising

13   prior to January 20, 2025, comparable to Plaintiff Pacito.” Id. at 2.

14         This additional refinement narrows the scope of refugees who remain

15   protected by this Court’s preliminary injunction, perhaps substantially so. The

16   Court’s May 5 Compliance Framework, which contemplated processing thousands of

17   refugee applicants under a categorical approach, is no longer aligned with the Ninth

18   Circuit’s more limited construction. While the three-part test from the April 21

19   clarification remains intact, the May 9 clarification adds a qualitative assessment

20   requiring individualized determination of reliance interests comparable to Plaintiff

21   Pacito’s circumstances. This case-by-case approach calls for a different

22   implementation structure than what was previously contemplated.

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     ORDER RESCINDING COMPLIANCE FRAMEWORK ORDER - 2
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1          At the May 1, 2025, status conference, the Government represented that 160

2    refugees met the three-part criteria and had travel scheduled within two weeks of

3    the January 20, 2025, USRAP Executive Order. The Government acknowledged

4    that these individuals’ circumstances closely parallel those of Plaintiff Pacito,

5    effectively conceding that they qualify as Injunction-Protected Refugees under the

6    Ninth Circuit’s clarification orders. Thus, the Court will apply a rebuttable

7    presumption that these 160 refugees qualify as “Injunction-Protected Refugees”

8    under the Ninth Circuit’s clarification orders. The Government must process, admit,

9    and provide statutorily mandated resettlement support services to these Injunction-

10   Protected Refugees immediately.

11         For all other refugee applicants who meet the three-part test but whose

12   travel was scheduled more than two weeks after January 20, 2025, a case-by-case

13   determination is now required. To efficiently conduct these individualized

14   assessments, the Court believes that appointing a Special Master 1 is warranted.

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18   1 The Court uses the term “master” because that is the language of the Federal

     Rules of Civil Procedure. Recently, however, the American Bar Association
19   recommended to the Judicial Conference of the United States that Rule 53 be
     amended to substitute the term “court-appointed neutral” for “court-appointed
20   master” because “master” is a “very poor term,” given its connotations, and an in-
     apt description of the actual role. Letter from Mary Smith, President, Am. Bar
21   Assoc., to H. Thomas Byron III, Sec. Comm. on Rule Prac. & Procedure, Admin.
     Office of the United States Courts (Feb. 12, 2024) (available at https://www.
22   uscourts.gov/sites/default/files/24-cv-a_suggestion_from_aba_-_rule_53.pdf). This
     Court would welcome the change.
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     ORDER RESCINDING COMPLIANCE FRAMEWORK ORDER - 3
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1         Accordingly, the Court ORDERS:

2      1. The Court’s May 5, 2025, Compliance Framework Order is RESCINDED.

3         Dkt. No. 119.

4      2. The Court will apply a rebuttable presumption that the approximately 160

5         refugees who, according to the Government’s representations, met the three-

6         part test and had travel scheduled within two weeks of January 20, 2025,

7         qualify as “Injunction-Protected Refugees” under the Ninth Circuit’s

8         clarification orders.

9      3. The Court intends to appoint a Special Master to assist in conducting case-

10        by-case determinations for other refugee applicants who meet the three-part

11        test but require individualized assessment of their reliance interests. The

12        parties must submit, within SEVEN (7) days of this Order, their positions

13        regarding:

14           a. Proposed qualifications for the Special Master;

15           b. Nominations for potential Special Masters; and

16           c. Suggested procedures for the case-by-case evaluation process.

17        If the parties are unable to reach agreement on a joint submission, they may

18        file separate briefs not to exceed 10 pages each.

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20        Dated this 15th day of May, 2025.

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22                                                Jamal N. Whitehead
                                                  United States District Judge
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     ORDER RESCINDING COMPLIANCE FRAMEWORK ORDER - 4
